UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF WISCONSIN

 

ln re: Case No. 17-25038-Svk
ROBERT LEE HARRIS Chapter 13
MISTY HARRIS

 

CITY OF MILWAUKEE’S LIST OF EXHIBITS AND WITNESS

 

At the hearing Scheduled for September 12, 2017, the City of Milvvaukee will
offer into evidence the following exhibits, copies of Which are attached hereto:

l. Exhibit A - Assessment detail and comparable properties, 2872 North 21st
Street.

The City of Milwaukee Will call as a Witness Anjanett Lopez from the Off`lce of
the City Assessor. MS. Lopez Will testify relative to the City ASSeSSor’S Office
determination of value of the above property.

Dated, Signed, and filed at Milwaukee, Wiseonsin on this 31St day of October,

 

2017.
GRANT F. LANGLEY
City Attomey
/S/ KEVIN P. SULLIVAN
Assistant City Attomey
Attorneys for City of Milwaukee
P.O. ADDRESS: State Bar No. 1005718
800 City Hall

200 East Wells Street
Milwaukee, WI 53202
(414) 286-2601

1060-201?-1347':242403

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City Of Milwaukee Property Data Page l of 1

Assessment Detai| and Listing Charaoteristios

 

Taxkey Premise Addrese thd P|at Assessment County C|ass
3101319100 2872 N 21ST ST 2950 31003 Milwaukee Residentia|
Ownership |nformation Conveyanee Assessment |nformation

Deed Type ClC Year Current Previous
ROBERT L HARR’S mate 2000-01-03 Land 2900 2900
2872 N 21ST ST
M|LWAUKEE W] Fee 0.00 |mprv 17800 17700
5320@ Narne or Ao'dresso:(;hange: 2003-03- Tota| 20700 20600
Org Year l Drop Year y Zoning l Ald, Distriet l Census
1995215 | 1 RTA | 15 | 008700_

|_egaf Desoription
MAYHEVV‘S SUBD,(A K) |N E 1/2 OF NVV1/4 SEC 18-7-22 BLOCK 5 LOTS 19 & 20

Dwe!|ing is a 1.5 Story Residence Old Ster having 1661 Sqft of finished living area

 

 

Dwe||ing Units 1 131 Fir 924 Bedrooms 4
Year Bui|t 1906 2nd F|r 0 Baths 1
Heating WARIV| A|R 3rc| Flr 0 Ha|f Bat|‘is 1
Airconditioned NO /-\ttio 0 ReoRoorn NO
Exterior Wal| FR/-\ME Half Story 737 FirePlaoeS 0
Basement Type FULL 924 Sqft Basement 0
Garages and Other Lot Entries
None Listed Lot Size 7540.00 Sqft
Recent Pennits O\-vnei' Histoi"v Saie Historv AW Tax Balanoe About Site

Data Provideci By Assessor Query From: 10.196.86.47

EXH|B|T

 

F’HQ€ 2 014 1726/2017

[DENTIFYING INFORMATION

Subject Property:
Address: 2872 N 21St St
Tax KeyNo. 310-1319-100

DESCRIPTION OF SUBJECT PROPERTY

The subject property is listed as a 4 bedroom, l and a half full baths, 1,661 sq ft Residence Old
Style, single family home, built in 1906, remodeled in 1925 . The current overall condition of the
home is listed to be in Fair Condition. There has not been a recent sale of the property The 2017
assessed value of this home is $20,700. There are no records that the current property owner ever
appealed the assessment Per a recent exterior view, it appears the home is in Fair condition.

This property is in neighborhood 2950 which is bounded by; Auer Ave on the north, Center St on
the south, Hopl<ins St on the east, and 35th St on the west.

Neighborhood 2950 is dominated by single family & duplex old style properties This is a
neighborhood that was heavily impacted by the foreclosure crisis, and has predominantly tenant
occupied properties

 

Ariel view of subject property

 

 

 

EXH|B|T

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